           Case 1:18-vv-01742-UNJ Document 36 Filed 09/14/20 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1742V
                                          UNPUBLISHED


    JACQUELINE WEAVER,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: August 7, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

        On November 8, 2018, Jacqueline Weaver filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) which meets the Table definition for SIRVA after receiving the
influenza vaccine on October 2, 2017. Petition at 1; Stipulation, filed at Aug. 6, 2020, ¶¶
1-2, 4. Petitioner further alleges that she received the vaccination in the United States,
that she suffered the residual effects of her injury for more than six months, and that
neither she nor any other party has filed a civil action or received compensation for her
injury, alleged as vaccine caused. Petition at 1, ¶¶ 27, 29; Stipulation at ¶¶ 3-5.
“Respondent denies that petitioner sustained a SIRVA Table injury, denies that the flu
vaccine caused petitioner’s alleged shoulder injury, or any other injury; and further denies
that petitioner’s current disabilities are sequelae of a vaccine-related injury.” Stipulation
at ¶ 6.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:18-vv-01742-UNJ Document 36 Filed 09/14/20 Page 2 of 7




       Nevertheless, on August 6, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $98,323.91 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
Case 1:18-vv-01742-UNJ Document 36 Filed 09/14/20 Page 3 of 7
Case 1:18-vv-01742-UNJ Document 36 Filed 09/14/20 Page 4 of 7
Case 1:18-vv-01742-UNJ Document 36 Filed 09/14/20 Page 5 of 7
Case 1:18-vv-01742-UNJ Document 36 Filed 09/14/20 Page 6 of 7
Case 1:18-vv-01742-UNJ Document 36 Filed 09/14/20 Page 7 of 7
